                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN,
                              MILWAUKEE DIVISION

 STACEY L. FUCHS,                            )
                                             )
                                                Case No: 2:20-cv-00419-PP
                         Plaintiff,          )
                                             )
                                                Chief Judge Pamela Pepper
             v.                              )
                                             )
 EQUIFAX INFORMATION SERVICES LLC, and )
 EXPERIAN INFORMATION SOLUTIONS, INC.        )
                                             )
                         Defendants.         )
______________________________________________________________________________

  STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
        DEFENDANT EQUIFAX INFORMATION SOLUTIONS, INC. ONLY
______________________________________________________________________________

       Plaintiff Stacey L. Fuchs (“Plaintiff”), by counsel, and Defendant Equifax Information

Services LLC (“Equifax”), by counsel, hereby stipulate and agree that all matters herein between

them have been compromised and settled, and that Plaintiff’s cause against Equifax only should

be dismissed, with prejudice, with each party to bear its own costs and attorneys’ fees.

                                                     Respectfully submitted,



Date: July 6, 2020                           /s/    James M. Smith
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                                             POLSINELLI PC

                                              /s/ Rebecca M. Lindstrom (with consent)
                                             Rebecca M. Lindstrom (WI Bar No.: 1084763)
                                             Claire Brennan



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                                              ATTORNEYS FOR DEFENDANT EQUIFAX
                                              INFORMATION SERVICES LLC


                                CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a copy of the foregoing has been filed
electronically on the 6th day of July 2020. Notice of this filing will be sent to the following
parties by operation of the Court’s electronic filing system. Parties may access this filing through
the Court’s electronic filing.

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               The undersigned further certifies that he did not serve the parties via First Class,
U.S. Mail




                                                     /s/James M. Smith
                                                     Counsel for Plaintiff




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